Case 1:19-md-02875-RMB-SAK   Document 2866-1   Filed 09/27/24   Page 1 of 15
                             PageID: 106058



                 UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY
                      CAMDEN VICINAGE

                                        MDL No. 2875
IN RE: VALSARTAN, LOSARTAN,
AND IRBESARTAN PRODUCTS                 Honorable Renée Marie Bumb,
LIABILITY LITIGATION                    Chief District Court Judge


This Document Relates to All Actions


TORRENT’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION
   TO CLARIFY WHETHER DR. NAGAICH MAY TESTIFY AS TO
CERTAIN TOPICS WITH RESPECT TO WHICH PLAINTIFFS’ EXPERT,
         MR. RUSS, HAS BEEN PERMITTED TO TESTIFY
Case 1:19-md-02875-RMB-SAK                       Document 2866-1              Filed 09/27/24          Page 2 of 15
                                                 PageID: 106059



                           TABLE OF CONTENTS
BACKGROUND .......................................................................................................2
ARGUMENT .............................................................................................................5
I.       THE COURT’S RULING THAT DR. AFNAN SHOULD BE
         PERMITTED TO TESTIFY EQUALLY ON TOPICS ADDRESSED
         BY PLAINTIFFS’ EXPERTS SHOULD EXTEND TO DR.
         NAGAICH. ......................................................................................................5

II.      DR. NAGAICH’S OPINIONS ARE BASED ON A RELIABLE
         METHODOLOGY AND ARE NOT INADMISSIBLE LEGAL
         CONCLUSIONS. ............................................................................................8

CONCLUSION ........................................................................................................10




                                                           i
Case 1:19-md-02875-RMB-SAK                   Document 2866-1            Filed 09/27/24       Page 3 of 15
                                             PageID: 106060



                                   TABLE OF AUTHORITIES

                                                                                                    Page(s)

Cases
Pfizer Inc. v. Teva Pharms. USA, Inc.,
   461 F. Supp. 2d 271 (D.N.J. 2006) ....................................................................... 9
Sheehan v. Del. & Hudson Ry. Co.,
   439 F. App’x 130 (3d Cir. 2011) .......................................................................... 8
In re Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust
   Litig.,
   2020 WL 6887885 (E.D. Pa. Nov. 24, 2020) .................................................9, 10

United States v. Lankford,
  955 F.2d 1545 (11th Cir. 1992) ........................................................................6, 7

Wolfe v. McNeil-PPC, Inc.,
  881 F. Supp. 2d 650 (E.D. Pa. 2012) .................................................................... 9




                                                      ii
Case 1:19-md-02875-RMB-SAK         Document 2866-1     Filed 09/27/24   Page 4 of 15
                                   PageID: 106061



      At the September 18, 2024 hearing, the Court held that ZHP’s expert, Dr.

Afnan, should be permitted to testify about certain topics where Plaintiffs’ experts

have been permitted to testify on those same topics—even where Dr. Afnan had been

previously precluded from testifying about those topics. The Court observed: “I

can’t have a plaintiff’s expert opining as to a matter that the defendant’s expert is

not permitted to opine as to. . . . I’m not going to let, you know, your witness say

one thing and not the other witness . . . [i]f the facts are disputed.” Sept. 18, 2024

Hr’g Tr. 102:14-103:2 (“Tr.”) (ECF No. 2858). That ruling should likewise apply

to the testimony of Torrent’s cGMP expert, Dr. Nagaich.

      Both Plaintiffs and Torrent have designated an expert to opine on issues

related to whether Torrent complied with cGMPs. Plaintiffs’ expert is Mr. Russ;

Torrent’s expert is Dr. Nagaich. In the Court’s prior ruling on the admissibility of

liability expert testimony, the Court ruled that all of Mr. Russ’s opinions and

testimony is admissible under Rule 702. See Opinion on Liability Experts under

FRE 702 at 25-27 (“Liability Op.”) (ECF No. 2581). But when it came to Dr.

Nagaich, the Court excluded certain of his opinions on exactly the same topics as

those to which Mr. Russ will be permitted to testify. Excluding Dr. Nagaich from

responding to Mr. Russ’s opinions on those topics would be manifestly unjust, as

the Court already ruled with respect to Dr. Afnan.




                                          1
Case 1:19-md-02875-RMB-SAK         Document 2866-1      Filed 09/27/24   Page 5 of 15
                                   PageID: 106062



       Accordingly, Torrent requests that the Court extend its holding as to Dr. Afnan

to the testimony of Dr. Nagaich and allow him to testify as to all the topics disclosed

in his expert report, which are directly responsive to Plaintiffs’ expert Mr. Russ.1

                                 BACKGROUND

       On January 5, 2024, this Court issued an opinion addressing the admissibility

under Federal Rule of Evidence 702 of the parties’ liability experts’ opinions. See

generally Liability Op. The Court excluded several opinions from Torrent’s cGMP

expert, Dr. Nagaich. Those exclusions fall into two categories.

       First, the Court excluded Dr. Nagaich’s opinions addressing the qualifications

of Dr. Jenny Yang, the independent, third-party auditor Torrent used to audit ZHP’s

facility that manufactured valsartan API. Liability Op. at 14; Expert Report of

Akhilesh Nagaich, Ph.D. ¶¶ 73-78 (“Nagaich Rpt.”) (ECF No. 2301-3). The Court

reasoned that Dr. Nagaich’s report was “silent as to how Yang is qualified” but noted

that if he had “cited support for Yang’s qualifications, the Court would not have

precluded these paragraphs but rather viewed them as a credibility clash between

Nagaich’s opinions and Russ’s.” Liability Op. at 14. The Court did not find any




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    To the extent necessary, Torrent also requests that the Court amend or modify the
    Court’s prior order to make clear that no portions of Dr. Nagaich’s intended
    testimony are excluded at trial.


                                          2
Case 1:19-md-02875-RMB-SAK        Document 2866-1       Filed 09/27/24   Page 6 of 15
                                  PageID: 106063



problem with Mr. Russ’s opinions on the same issue, his methodology, or the support

he relied upon. Liability Op. at 25-27.

      Mr. Russ’s opinion as to Dr. Yang’s qualifications cites a single document: an

FDA establishment inspection report (“EIR”) that observed that Torrent had not

trained Dr. Yang regarding Torrent’s specific standard operating procedure for API

vendor qualification (SOP No. CQA-037). See Report of Philip Russ ¶¶ 116-18

(“Russ Rpt.”) (ECF No. 2300-2) (citing TORRENT-MDL2875-00010961). Mr.

Russ’ methodology was simply to read and analyze the FDA’s observations in this

one EIR. See id. Dr. Nagaich’s opinions use a similar methodology—analyzing

record evidence based on his qualifications and experience—but rely upon a

significantly broader set of materials.       Specifically, Dr. Nagaich reviews and

analyzes the same EIR Mr. Russ relies upon, but also Torrent’s response and the

FDA’s subsequent recognition of the adequacy of that response. Id. ¶¶ 74-75. He

also reviewed Dr. Yang’s CV and her actual qualifications as an auditor as well as

Torrent correspondence regarding those qualifications. Id. ¶ 73. Mr. Russ did not

review any of this additional evidence. In other words, Dr. Nagaich used the same

methodology as Mr. Russ but relied on a substantially more robust and complete

record and was certainly not silent as to how Dr. Yang was qualified as an auditor.

      The Court also excluded Dr. Nagaich’s opinions regarding the outcomes of

Dr. Yang’s audit, based on its exclusion of Dr. Nagaich’s analysis of Dr. Yang’s


                                          3
Case 1:19-md-02875-RMB-SAK         Document 2866-1     Filed 09/27/24   Page 7 of 15
                                   PageID: 106064



qualifications. Liability Op. at 14; Nagaich Rpt. ¶¶ 76-78. But, again, the Court

permitted Mr. Russ to opine on the same issue and to offer his opinions regarding

the significance of Dr. Yang’s audit findings. See Russ Rpt. ¶ 119.

      Second, the Court excluded several other portions of Dr. Nagaich’s opinions

regarding Torrent’s compliance with industry standards and USP specifications.

Liability Op. at 15; Nagaich Rpt. ¶¶ 79-80, 88-94, 95-97, 104. The Court held that

each of these opinions were “legal opinion[s]” or “legal interpretation[s].” Liability

Op. at 15. In each case, Mr. Russ opined on the same issues. See Russ Rpt. ¶¶ 45,

60, 71, 74, 106, 107. In fact, virtually all of Dr. Nagaich’s opinions that were

excluded as legal opinions are opinions that were offered in response to opinions

proffered by Mr. Russ. See Nagaich Rpt. ¶ 79 (“Mr. Russ’s opinion that ‘Torrent

had systemic, serious, and long-standing cGMP compliance violations that caused

them to not identify nitrosamines in their Valsartan products’ is inaccurate. On the

contrary, Torrent had a long history of cGMP compliance.”) (internally citing Russ

Rpt. ¶ 45); Nagaich Rpt. ¶ 88 (“Mr. Russ suggests that Torrent observed unknown

peak(s) in its residual solvent analysis of Valsartan API and Torrent ignored to do

further analysis of anomalous peaks. . . . I disagree with Mr. Russ’s assertion. It is

not clear from the report as to which peaks Mr. Russ is referring to as anomalous. In

my opinion, there were no sudden appearances of unknown peaks that would have

triggered further investigation.”); Nagaich Rpt. ¶ 90 (“Mr. Russ has argued that


                                          4
Case 1:19-md-02875-RMB-SAK          Document 2866-1      Filed 09/27/24    Page 8 of 15
                                    PageID: 106065



‘Torrent’s cGMP API qualification system, laboratory control system related to API

reduced testing and supplier auditing quality systems prevented from identifying

unknown peaks as Novartis had done during industry standard API evaluation

testing.’ I disagree.”) (quoting Russ Rpt. ¶ 71).2 Dr. Nagaich’s opinions regarding

USP 467 and USP 469 were also excluded despite his analysis of those specifications

being virtually the same as that of Mr. Russ. Compare Nagaich Rpt. ¶¶ 95-97, with

Russ Rpt. ¶¶ 59, 63.3

                                    ARGUMENT
I.      THE COURT’S RULING THAT DR. AFNAN SHOULD BE
        PERMITTED TO TESTIFY EQUALLY ON TOPICS ADDRESSED BY
        PLAINTIFFS’ EXPERTS SHOULD EXTEND TO DR. NAGAICH.

        At the September 18 Hearing regarding Dr. Afnan, the Court observed: “I

can’t have a plaintiff’s expert opining as to a matter that the defendant’s expert is

not permitted to opine as to. . . . I’m not going to let, you know, your witness say

one thing and not the other witness . . . [i]f the facts are disputed.” Tr. 102:14-103:2.

That was correct; “fairness demands that if experts are presented, the jury must


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     See also Nagaich Rpt. ¶ 91 (quoting and responding to Russ Report ¶ 74);
     Nagaich Rpt. ¶ 92 (quoting and responding to Russ Report ¶ 106); Nagaich Rpt.
     ¶ 93 (quoting and responding to Russ Report ¶ 107); Nagaich Rpt. ¶ 94 (quoting
     and responding to Russ Report ¶ 108, although a citation to the Russ Report
     appears to be missing following the quotation).
3
     The Liability Opinion also excluded Nagaich Report ¶ 107, which is a summary
     of Dr. Nagaich’s opinions and was excluded for the same reasons as applied to
     Dr. Nagaich’s analysis discussed above. See Liability Op. at 15.


                                           5
Case 1:19-md-02875-RMB-SAK          Document 2866-1      Filed 09/27/24   Page 9 of 15
                                    PageID: 106066



receive a full presentation on both sides of an issue.” United States v. Lankford, 955

F.2d 1545, 1553 (11th Cir. 1992).

       “It is an abuse of discretion ‘to exclude the otherwise admissible opinion of a

party’s expert on a critical issue, while allowing the opinion of his adversary’s expert

on the same issue.’” Id. at 1552 (citation omitted). As the Court explained to

Plaintiffs: “if you have a regulatory witness who is similarly situated as this witness

and your witness can say that they were adulterated, it seems to me that given his

expertise, which parallels your witness’s expertise, he can say the opposite if his

basis says it.” Tr. 57:4-8.4

       While the precise issues Dr. Nagaich was excluded from testifying about

(auditor qualifications, audit results, compliance with industry standards, and USP

requirements) are different from those that applied to Dr. Afnan (adulteration), the

logic is the same. What is good for the goose is good for the gander. Dr. Russ and

Dr. Nagaich offer opinions that are essentially two sides of the same coin. Mr. Russ

opines that Dr. Yang was not qualified. Russ Rpt. ¶¶ 116-18. Dr. Nagaich opines

that she was. Nagaich Rpt. ¶¶ 73-75. Mr. Russ opines that Dr. Yang’s audit revealed

concerns that Torrent did not adequately address. Russ Rpt. ¶ 119. Dr. Nagaich


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    The Court further explained: “If the plaintiffs’ witnesses are testifying in their
    regulatory capacity and they, given their regulatory expertise, opine that these
    drugs were adulterated before the FDA declared them adulterated, this witness
    will be permitted, given his expertise, to counter that.” Tr. 60:7-12.


                                           6
Case 1:19-md-02875-RMB-SAK        Document 2866-1      Filed 09/27/24   Page 10 of 15
                                  PageID: 106067



opines that Torrent properly followed up on those concerns. Nagaich Rpt. ¶¶ 76-78.

Mr. Russ opines that Torrent did not comply with industry standards. Russ Rpt.

¶¶ 74-79, 104-114. Dr. Nagaich responds that Torrent did comply with those same

industry standards. Nagaich Rpt. ¶¶ 79-80, 88-94, 104. Mr. Russ describes the

requirements of USP 467 and 469 (although he does not cite the latter). Russ Rpt.

¶¶ 59, 63. Dr. Nagaich describes those very same USP requirements. Nagaich Rpt.

¶¶ 95-97.   If Mr. Russ can opine on these topics, then Dr. Nagaich should be

permitted to testify on those topics in response to Mr. Russ. Any other outcome

would afford Plaintiffs favorable treatment.

      In particular, although the Court excluded several of Dr. Nagaich’s opinions

regarding the qualifications of Dr. Yang and the audits she conducted because they

lacked “support,” the Court took no issue with Mr. Russ opining on those same

topics based on a thinner evidentiary basis. Liability Op. at 14, 25-27; supra at 3-4.

And while the Court also excluded Dr. Nagaich’s opinions regarding Torrent’s

compliance with industry standards and the requirements imposed by USP 467 and

469 as either “legal opinion[s]” or “legal interpretation[s],” the Court took no issue

with Mr. Russ opining that Torrent did not comply with industry standards or about

the same USP requirements. Liability Op. at 15, 25-27; supra at 4-5. Not permitting

Dr. Nagaich to testify on these topics would present grounds for reversal in the event

of a verdict for Plaintiffs. See Lankford, 955 F.2d at 1551-52 (remanding for new


                                          7
Case 1:19-md-02875-RMB-SAK        Document 2866-1     Filed 09/27/24   Page 11 of 15
                                  PageID: 106068



trial “[b]ecause the government was allowed to offer expert testimony on the

reasonable tax implications of a ‘campaign contribution,’ but the defense was not”).

      In sum, Dr. Nagaich “should be permitted to testify what [Torrent] did, what

[Torrent] didn’t do, whether they followed the proper protocols, et cetera . . . .”

Tr. 102:1-3. And, to the extent that requires amending or modifying the Liability

Opinion, the Court has that power and should exercise it. “A trial judge has the

discretion to reconsider an issue and should exercise that discretion whenever it

appears that a previous ruling, even if unambiguous, might lead to an unjust result.”

Sheehan v. Del. & Hudson Ry. Co., 439 F. App’x 130, 133 (3d Cir. 2011).

II.   DR. NAGAICH’S OPINIONS ARE BASED ON A RELIABLE
      METHODOLOGY AND ARE NOT INADMISSIBLE LEGAL
      CONCLUSIONS.

      Even putting aside the disparities in the Court’s ruling, Dr. Nagaich’s

testimony should be admitted because he applies a reliable methodology and does

not seek to offer inadmissible legal conclusions.

      In terms of methodology, this Court held that Mr. Russ’s methodology of

reviewing “defendants’ own documents” and “Torrent’s own statements and

conduct” is reliable. Liability Op. at 26. Dr. Nagaich did exactly what Mr. Russ

did, and more: he reviewed the documentary evidence in this case, relevant

regulations, relevant deposition testimony, interviewed Dr. Sushil Jaiswal (Torrent’s

Director of Quality), and reviewed reports of Plaintiffs’ experts including Mr. Russ.



                                         8
Case 1:19-md-02875-RMB-SAK        Document 2866-1     Filed 09/27/24   Page 12 of 15
                                  PageID: 106069



See generally Nagaich Rpt. ¶¶ 14, 71-72, 86, 87 & n.155, 105, Ex B. He also based

his opinions on his extensive professional experience and knowledge of industry

practice, including the eight years he spent as a principal investigator and drug

quality reviewer at the FDA, where he received extensive training and experience in

conducting cGMP compliance inspections of drug and biologic manufacturing sites.

Id. ¶¶ 3-4. Dr. Nagaich’s opinions about Dr. Yang’s qualifications and audits are

based upon the very same methodology the Court held was adequate as to Mr. Russ,

and should therefore not be excluded.

      In addition, Dr. Nagaich’s testimony about Torrent’s compliance with

industry standards are not inadmissible legal conclusions. Courts in this Circuit and

around the country “have repeatedly allowed FDA regulatory experts to testify

regarding regulatory requirements.” In re Suboxone (Buprenorphine Hydrochloride

& Naloxone) Antitrust Litig., 2020 WL 6887885, at *45 (E.D. Pa. Nov. 24, 2020);

see, e.g., Wolfe v. McNeil-PPC, Inc., 881 F. Supp. 2d 650, 658, 660 (E.D. Pa. 2012)

(admitting testimony on “FDA regulation and [the defendant’s] regulatory

compliance”); Pfizer Inc. v. Teva Pharms. USA, Inc., 461 F. Supp. 2d 271, 278-79

(D.N.J. 2006) (admitting “general information regarding the FDA’s regulation of

prescription drug labeling” and the extent to which pharmaceutical company

complied with it).




                                         9
Case 1:19-md-02875-RMB-SAK         Document 2866-1      Filed 09/27/24   Page 13 of 15
                                   PageID: 106070



       Dr. Nagaich’s opinions are clearly permissible. They relate to Torrent’s “long

history of cGMP compliance” and the fact that Torrent’s testing of valsartan API,

auditing of ZHP, and use of a single API supplier are all consistent with industry

standards based on Dr. Nagaich’s extensive training in those standards and

experience applying them in conducting inspections on behalf of the FDA. See

Nagaich Rpt. ¶¶ 79-80, 88-97, 104, 107. All of this testimony is “helpful to the jury”

“in light of the complex nature of the FDA [and regulatory] framework.” In re

Suboxone, 2020 WL 6887885, at *45. None of it crosses the line into telling the jury

the result it should reach or telling the Court exactly how regulations should be

interpreted. For this reason, too, the Court should clarify that Dr. Nagaich will be

permitted to testify in full.

                                   CONCLUSION

       For the foregoing reasons, Torrent respectfully requests that the Court clarify

that Dr. Nagaich may testify as to all topics disclosed in his expert report and, to the

extent necessary, amend or correct its ruling on the parties’ liability experts to allow

Dr. Nagaich to so testify.




                                          10
Case 1:19-md-02875-RMB-SAK   Document 2866-1    Filed 09/27/24    Page 14 of 15
                             PageID: 106071



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                                   11
Case 1:19-md-02875-RMB-SAK       Document 2866-1     Filed 09/27/24   Page 15 of 15
                                 PageID: 106072



                         CERTIFICATE OF SERVICE

      I, Alexia R. Brancato, an attorney, hereby certify that on September 27, 2024,

I caused a copy of the foregoing document to be served on all counsel of record via

CM/ECF and caused the unredacted version filed under seal to be served on all

counsel of record by email.


                                             /s/ Alexia R. Brancato
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